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             UNITED STATES DISTRICT COURT
                DISTRICT OF NEW JERSEY


    UNITED FOOD COMMERCIAL WORKERS                Civil 12-3693
    INTERNATIONAL UNION

                 Vs.


          MERCK & CO., INC.                           o R DE R



     The Court having been advised that the complaint             led in

this action is duplicative,



     It is on this !24~ day of July 2012
                        \




     o   R D ERE D that the complaint         led be dismissed.




                                  Hon. Peter G. Sheridan, U.S.D.J.
